                                                                       EXHIBIT
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                                                                             #: 436
                                                                                             November 1, 2022

                                                       Page 1                                                   Page 3
                                                                     1       B. FINKELSTEIN
               UNITED STATES DISTRICT COURT
                                                                     2
               EASTERN DISTRICT OF NEW YORK
               ------------------x                                   3          FEDERAL STIPULATIONS
                                    :2:19-CV-07271                   4
               MARIA SUAREZ,                                         5         IT IS HEREBY STIPULATED AND AGREED
                                    :
                          Plaintiff,                                 6     by and between the attorneys for the
                                    :                                7     respective parties herein, that filing
                    -against-                                        8     and sealing be and the same are hereby
                                    :
               SOUTHERN GLAZER'S WINE AND SPIRITS                    9     waived.
               OF NEW YORK, LLC,               :                    10
                          Defendant. :                              11         IT IS FURTHER STIPULATED AND AGREED
               ------------------x
                          200 Broadhollow Road
                                                                    12     that all objections, except as to the form
                          Melville, New York 11747                  13     of the question, shall be reserved to the
                                                                    14     time of the trial.
                         November 1, 2022
                                                                    15
                         10:10 a.m.
                                                                    16         IT IS FURTHER STIPULATED AND AGREED
                                                                    17     that the within deposition may be sworn to
                                                                    18     and signed before any officer authorized to
                                                                    19     administer an oath, with the same force and
               EXAMINATION BEFORE TRIAL of SOUTHERN GLAZER'S WINE   20     effect as if signed and sworn to before the
               AND SPIRITS OF NEW YORK, LLC, the Defendant
                                                                    21     Court.
               herein, by BARRY FINKELSTEIN, taken by the
               Plaintiff and the Defendant, pursuant to Order,      22
               before a Stenotype Reporter and Notary Public        23
               within and for the State of New York.
                                                                    24
                                                                    25


                                                       Page 2                                                   Page 4
           1        B. FINKELSTEIN                                   1
           2                                                         2          B. FINKELSTEIN
                    A P P E A R A N C E S:
           3
                                                                     3        B A R R Y F I N K E L S T E I N, after
           4     MOSER LAW FIRM, P.C.                                4   first having been duly sworn by David P. Yuni, a
                 Attorneys for Plaintiff                             5   Stenotype Reporter and Notary Public in and for
           5         5 East Main Street                              6   the State of New York, was examined and testified
                     Huntington, New York 11743
           6
                                                                     7   as follows:
                 BY: STEVEN J. MOSER, ESQ.                           8   EXAMINATION BY
           7                                                         9   MR. MOSER:
           8                                                        10        Q State your name for the record.
                 CONSTANGY, BROOKS, SMITH, AND PROPHETE, LLP
                                                                    11        A Barry Finkelstein.
           9     Attorneys for Defendant
                     101 Sixth Avenue                               12        Q What is your current address?
          10         New York, New York 10013                       13        A 345 Underhill Boulevard, Syosset, New
          11     BY: ANGANETTE CABRERA, ESQ.                        14   York 11791.
          12
                                                                    15        Q Good morning Mr. Finkelstein. I am
          13
          14                                                        16   Steven Moser, an attorney, and I represent Maria
          15                                                        17   Suarez in a lawsuit against Southern Glazer's Wine
          16                                                        18   and Spirits of New York. I will have some
          17                                                        19   questions for you today. Have you ever testified
          18
          19
                                                                    20   at a deposition before?
          20                                                        21        A I have.
          21                                                        22        Q On how many different occasions?
          22                                                        23        A I think, maybe two. One was many
          23
          24
                                                                    24   years ago. One was somewhat recently.
          25                                                        25        Q Tell me about the one that happened


                                                                                           1 (Pages 1 to 4)
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           1   recently.                                            1   Spirits and Southern Glazer's Wine and Spirits as
           2          B. FINKELSTEIN                                2          B. FINKELSTEIN
           3       Q It was an employee that was                    3   Southern, okay?
           4   intoxicated at work, and the company was looking     4       A Yes.
           5   for termination, and the union and the gentleman     5       Q So you will understand that if I just
           6   fought termination.                                  6   use the word Southern from now on?
           7       Q Was that testimony in response to a            7       A Absolutely.
           8   lawsuit or was it part of an arbitration             8       Q Great. Have you done anything to
           9   proceeding?                                          9   prepare for today's deposition?
          10       A It wasn't a lawsuit, no. I think it           10       A I had a meeting, you know, a
          11   was just fighting the termination.                  11   preliminary meeting this past week.
          12       Q And who took your testimony?                  12       Q With whom?
          13       A I don't recall the names.                     13       A With Timothy. I forget his last name.
          14       Q Was it an attorney?                           14   He is an attorney.
          15       A Yes.                                          15       Q Was it Timothy Barbetta?
          16       Q Tell me about the other occasion which        16       A Yes.
          17   you testified.                                      17       Q For how long -- I don't want to know
          18       A It was many years ago, and I honestly         18   about what you spoke with him because that's
          19   don't even recall. It was like 15 years ago. I      19   confidential. How much time did you speak with
          20   don't really recall what it was about.              20   Mr. Barbetta for?
          21       Q Was it with regard to a lawsuit?              21       A About an hour and a half.
          22       A I really don't recall. I don't even           22       Q Did you review any documents to
          23   recall the name of the person. I remember it        23   prepare for today's deposition?
          24   being many years ago when I first sort of started   24       A A couple of E-mails.
          25   with Southern.                                      25       Q Do you have these E-mails with you


                                                     Page 6                                                   Page 8
           1      Q      Have you been sued by anyone?              1   here today?
           2          B. FINKELSTEIN                                2          B. FINKELSTEIN
           3       A No.                                            3        A No.
           4       Q Have you ever sued anyone for                  4        Q What were these E-mails about?
           5   anything?                                            5        A To the best of my recollection it was
           6       A No.                                            6   about a day-to-day work situation that might have
           7       Q The matter that you testified for              7   been going on, and when I read it actually I was
           8   approximately 15 years ago, was that with regard     8   cc'd on it. It wasn't sent to me specifically,
           9   to an employment issue?                              9   and I didn't even recall it when I saw it, but
          10       A I am trying to recall what exactly it         10   nothing -- you know. I didn't see any problems
          11   was, and I mean as a manager it had to have been    11   with it. I think it was just an E-mail that
          12   an employee situation, but I really don't recall    12   related something that Maria and -- I don't know
          13   any of the specifics of it.                         13   if it was John Wilkinson who was the director at
          14       Q Did that relate to your employment at         14   the time were discussing, but it really did not
          15   Southern or did that -- withdrawn. Did that         15   involve me.
          16   relate to your employment at Southern Glazer's      16        Q Do you remember anything else about
          17   Wine and Spirits or did that relate to your         17   the E-mails that you reviewed?
          18   employment for someone else?                        18        A No. It was two or three, and again it
          19       A It was Southern Wine at the time. Not         19   was nothing really that popped up at me as being
          20   Southern Glazer's.                                  20   any kind of situation or a problem.
          21       Q So it related to your employment with         21        Q Was there anything that you saw in
          22   Southern Wine and Spirits?                          22   there that you thought was important to Maria's
          23       A Correct.                                      23   employment with Southern?
          24       Q For the purpose of today's deposition         24        A No.
          25   I am going to refer to both Southern Wine and       25        Q Are you still employed by Southern?


                                                                                         2 (Pages 5 to 8)
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                                                   Page 9                                                 Page 11
            1      A      Yes.                                   1      Q      Where is your office?
            2           B. FINKELSTEIN                           2          B. FINKELSTEIN
            3       Q When did you start working for them?       3       A It is in the warehouse just -- it is
            4       A In 2006.                                   4   actually connected to the warehouse just outside
            5       Q So is that about 16 years ago?             5   of the warehouse. 20 steps away.
            6       A Yes.                                       6       Q Who else has an office there?
            7       Q How old are you?                           7       A In the building or --
            8       A That's personal. I am just kidding.        8       Q Well, when you say 20 steps away from
            9   I just turned 68.                                9   the warehouse itself is that at 345 Underhill
           10       Q When do you plan on retiring?             10   where you have your office?
           11       A Very good question. I would say           11       A Correct.
           12   within two years.                               12       Q Who else has an office at 345
           13       Q Do you have any plans to leave            13   Underhill besides you?
           14   Southern now?                                   14       A The night shift manager actually
           15       A No.                                       15   shares it with the midshift manager so they share
           16       Q Do you plan to finish out your career     16   an office. Who else downstairs? The safety
           17   with Southern?                                  17   director, the inventory control manager, and some
           18       A Yes.                                      18   delivery managers as well.
           19       Q What is your current job title?           19       Q Who is the inventory control manager?
           20       A Day shift operations manager.             20       A Tonisha Durant.
           21       Q How long have you had that title?         21       Q How long has she been the inventory
           22       A I would say four years.                   22   control manager?
           23       Q What title did you have before that?      23       A If I had to guess I would probably say
           24       A Prior to that was midshift manager.       24   about maybe eight to ten years.
           25       Q Was that midshift operations manager?     25       Q Did you know Ms. Durant before she


                                                  Page 10                                                 Page 12
            1      A     Yes.                                    1   was the inventory control manager?
            2         B. FINKELSTEIN                             2         B. FINKELSTEIN
            3       Q For how long were you the midshift         3       A No.
            4   operations manager?                              4       Q Did she work for Southern before she
            5       A Probably also about four years.            5   became the inventory control manager?
            6       Q What title did you have before you         6       A Yes. I believe she was in customer
            7   were the midshift operations manager?            7   service, but I'm not 100 percent sure.
            8       A Night shift operations manager.            8       Q Did anyone at Southern talk to you
            9       Q For how long were you the night shift      9   about Tonisha Durant becoming the inventory
           10   operations manager?                             10   control manager?
           11       A That was about from 2007 to, I guess,     11       A No.
           12   eight years ago to 2014.                        12       Q And that's before she became the
           13       Q What title did you have before the        13   inventory control manager?
           14   night shift operations manager?                 14       A No.
           15       A Um, I was a supervisor on overnights.     15       Q Before Tonisha Durant was the
           16       Q When you were a supervisor on             16   inventory control manager who was the inventory
           17   overnights were you working in the warehouse?   17   control manager?
           18       A Yes.                                      18       A Before that I believe it was Tom
           19       Q Were you a union member?                  19   Barkey.
           20       A No.                                       20       Q Was Maria Suarez ever the inventory
           21       Q Have you always worked in the             21   control manager?
           22   warehouse?                                      22       A I am not sure what Maria's title was.
           23       A Yes.                                      23   I'm not sure if she was a manager or a supervisor.
           24       Q Do you have an office?                    24       Q Does Tonisha Durant supervise any
           25       A Yes.                                      25   employees?


                                                                                    3 (Pages 9 to 12)
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           1      A     Yes.                                         1   Herdocia, or Ena Scott?
           2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
           3       Q Who does she supervise?                         3       A Um, I would say for a short period of
           4       A You want the names?                             4   time they reported to both of us, to Tatiana and
           5       Q Yes.                                            5   myself.
           6       A Justin Veigh, Tatiana Herdocia, Ena             6       Q For a period of time did these three
           7   Scott, and there is a new young guy working for       7   individuals report to both Tonisha Durant and to
           8   her recently. I know his first name is Jax. I         8   you?
           9   don't know his last name. That's it.                  9       A I'm not sure when Maria left the
          10       Q How do you know that these -- how do           10   company, but I would say it was probably a few
          11   you know Tonisha Durant manages these four           11   months -- January of 2020? That's when Covid
          12   individuals?                                         12   started, right? January or February?
          13       A Well, I know they report to her. I             13       Q Early 2020.
          14   know they work for her. I know she gives them        14       A Right.
          15   their work every day. She analyzes their work.       15       Q So in your capacity as day shift
          16       Q Is that based upon your personal               16   operations manager do you see what the cycle
          17   knowledge of what you see and what you hear?         17   counters do on a daily basis?
          18       A It is what I know.                             18       A Yes.
          19       Q How do you know?                               19       Q Do you have any interactions with
          20       A I have been there when they interacted         20   Tonisha Durant?
          21   on the business end, and I know when she is out      21       A Yes.
          22   very often they will come to me if she is out with   22       Q Describe for me the interactions that
          23   any kind of problems.                                23   you have on a daily basis with the -- withdrawn.
          24       Q So you know that these four                    24   Describe for me the interactions that you have
          25   individuals report to Tonisha Durant because you     25   with Tonisha Durant as day shift operations


                                                     Page 14                                                  Page 16
           1   have seen them report to her and you have been        1   manager?
           2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
           3   present when they reported to her?                    3        A So when there are inventory issues
           4        A Mm-hmm, yes.                                   4   that need to be looked into and resolved very
           5        Q For how long have these four                   5   often -- there are some rules and regulations when
           6   individuals -- withdrawn. What are the titles of      6   it comes to what cycle counters can and cannot do
           7   those four individuals?                               7   so they can't touch product, and they can't move
           8        A Cycle counters.                                8   product. They can strictly count. So if there is
           9        Q For how long has Justin, Tatiana and           9   an inventory issue that needs to be looked into
          10   Ena Scott reported to Tonisha Durant?                10   very often the departments will get in touch with
          11        A I would have to say for the past maybe        11   me, and I will then have a warehouse -- the
          12   four years.                                          12   warehouse men get involved and look into the
          13        Q Is that your best approximation?              13   problem which means getting on a hi-lo possibly,
          14        A Yes, I would say that.                        14   pulling pallets out, doing the more physical end
          15        Q Who did these three individuals,              15   of it.
          16   Justin Veigh, Tatiana Herdocia, and Ena Scott        16        Q How frequently do you interact with --
          17   report to before they reported to Tonisha Durant?    17   withdrawn. How frequently do you speak with
          18        A Maria Suarez.                                 18   Tonisha Durant?
          19        Q So is it fair to say that Maria               19        A Daily. You mean how many times a day?
          20   Suarez was their manager before Tonisha Durant       20        Q Correct.
          21   became their manager?                                21        A I would say anywhere between three and
          22        A Again, I am not sure what her actual          22   ten times a day on average.
          23   title was so either manager or supervisor.           23        Q For how long have you spoken with
          24        Q Okay. Did you ever have any                   24   Tonisha Durant between three and ten times per day
          25   supervisory authority over Justin Veigh, Tatiana     25   at Southern?


                                                                                       4 (Pages 13 to 16)
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           1      A      How often have we been speaking?           1      Q     When you were the night shift
           2          B. FINKELSTEIN                                2          B. FINKELSTEIN
           3       Q Yes. For how long have you had this            3   operations manager what was your schedule?
           4   level of contact?                                    4       A When I was night shift? It was 6 p.m.
           5       A Since January of 2020, since I took            5   until whenever we got the last case out the door.
           6   that day shift position.                             6   Sometimes 6 a.m. It was long hours.
           7       Q And the midshift operations manager?           7       Q So just to clarify, when you were the
           8   When you were the midshift operations manager did    8   night shift manager -- withdrawn. When you were
           9   you have any communications with Tonisha Durant?     9   the night shift operations manager your shift
          10       A Some but not nearly as much.                  10   began at 6 p.m.?
          11       Q How many times did you speak per week         11       A Yes.
          12   or per day with Tonisha Durant when you were the    12       Q And it ended when the last case was
          13   midshift operations manager?                        13   out the door?
          14           MS. CABRERA: Objection to the form of       14       A Correct.
          15       the question. You can answer it.                15       Q And then when you became the midshift
          16       A How often? There were times that we           16   operations manager your shift was from 3 p.m. to 1
          17   didn't speak at all because very often our shifts   17   a.m.
          18   -- we did not see each other because of my hours,   18       A Correct.
          19   but E-mail wise? Maybe three to four times a        19       Q Except for the last year in which you
          20   week.                                               20   were in that position in which you negotiated a
          21       Q Would you communicate about a specific        21   schedule of 9 a.m. to 7 p.m?
          22   topic?                                              22       A Correct.
          23       A Did Tonisha Durant and I speak about          23       Q And then when you became the day shift
          24   -- yes. It was always inventory issues.             24   operations manager what was your schedule?
          25       Q For what reasons would you communicate        25       A My schedule now is again about 7:30 in


                                                    Page 18                                                  Page 20
           1   specifically with regard to the inventory?           1   the morning. I try to get out by 6:30 at night.
           2          B. FINKELSTEIN                                2          B. FINKELSTEIN
           3       A Um, if a warehouse man was not doing           3       Q Did you ever manage Justin Veigh?
           4   their job properly, for instance, and she found      4       A I would say it was more of a
           5   out what went wrong and who did it? She would        5   supervisory situation, yes.
           6   then send me that information. If it was a member    6       Q When did you supervise Justin Veigh?
           7   of my shift so that I would address the employee,    7       A That was somewhere around 2018.
           8   retraining, counsel, coach.                          8       Q Why did you supervise Justin Veigh in
           9       Q When you were the midshift operations          9   2018?
          10   manager what was your schedule?                     10       A There was a change in my -- a short
          11       A It changed. Officially it was -- 3            11   period when my title was kind of up in the air so
          12   p.m. until 1:00 in the morning, and then the last   12   before I became the day shift manager I was the
          13   year I had the position I negotiated a change of    13   midshift manager obviously, and then they brought
          14   hours, and I was working 9 to 7. 9 a.m. to 7 p.m.   14   in a new midshift manager. There was some
          15       Q When you were working from 9 a.m. to 7        15   situation going on between me and my boss, and I
          16   p.m. during the last year that you were the         16   was pulled out of the midshift position and pretty
          17   midshift operations manager how often did you       17   much told to like figure it out. So I got
          18   communicate with Tonisha Durant?                    18   involved in inventory control at that point so
          19       A Probably about the same. Three to             19   there was a short period of time where I was not
          20   four times a week. Most of the interactions         20   the midshift or the day shift manager. I was a
          21   between inventory control and warehouse manager     21   manager but of neither shift.
          22   the was done between the day shift manager and      22       Q And who was your manager at that time?
          23   Tonisha Durant, so not that often.                  23       A At that time it was Sean Kelly.
          24       Q Who was the day shift manager?                24       Q Who is Sean Kelly?
          25       A At the time it was Jerome Danzi.              25       A He was the day shift manager for a


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           1   short period of time. He is in Texas now, still       1   actually like tell you why because I still don't
           2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
           3   with the company.                                     3   get it. But there was some --
           4       Q For how long did you supervise Justin           4       Q All right. So what is your
           5   Veigh in 2018?                                        5   understanding of why you were without a title for
           6       A I would say probably mid 2018 until             6   that period?
           7   January of 2020. Maybe a year and a half.             7       A I think there was a conflict between
           8       Q Who gave you the authority to                   8   Mr. Randall and myself that I actually had no idea
           9   supervise Justin Veigh?                               9   where it was coming from, and I think he was
          10       A The VP Kevin Randall.                          10   probably maybe getting bad information about me
          11       Q Did Mr. Randall talk to you about              11   and decided to remove me from that position from
          12   supervising Justin Veigh?                            12   the midshift position.
          13       A Yes.                                           13       Q When you were removed from the
          14       Q And in addition to supervising Justin          14   midshift operations position you effectively had
          15   Veigh were you also going to supervise Tatiana       15   no title with the company?
          16   Herdocia and Ena Scott?                              16       A That's correct.
          17       A Yes.                                           17       Q Was that something that Mr. Randall
          18       Q Did you supervise Tatiana Herdocia and         18   decided?
          19   Ena Scott for the same period of time that you       19       A Yes.
          20   supervised Justin Veigh?                             20       Q And were you paid a salary during this
          21       A Yes.                                           21   period of time?
          22       Q When for the first time did you speak          22       A Yes.
          23   to Mr. Randall about supervising cycle counters?     23       Q During this time period that you were
          24       A Right around that time. Mid 2018.              24   without a title did you have a job description?
          25       Q Tell me about all you can remember             25       A No.


                                                    Page 22                                                    Page 24
           1   about that conversation.                              1      Q     During the time period that you were
           2         B. FINKELSTEIN                                  2          B. FINKELSTEIN
           3       A Okay. So again, I was the midshift              3   without a title did you have any job duties?
           4   manager. I was replaced by someone to take that       4       A No.
           5   position. I was left without a title for a number     5       Q So can you please explain what you
           6   of months. And one of our biggest problems in         6   would do when you came to work during this
           7   that warehouse -- you want me to tell you about my    7   six-month period?
           8   conversation with Kevin?                              8       A That's a very good question. I
           9       Q Correct.                                        9   realized it was like sink or swim so I had to find
          10       A All right. So I ended up working the           10   something that was going to make a difference, and
          11   inventory control, getting more knowledge, and I     11   I went out, and I decided where do we need the
          12   think Kevin recognized that I was doing -- you       12   help most, and I knew our inventory was a bit of a
          13   know, my work was improving things in the            13   mess. So I offered my help to Tonisha and in the
          14   warehouse and asked me to take over that part of     14   process learned a lot about how that whole end of
          15   inventory for cycle counters.                        15   the business works.
          16       Q When were you without a title?                 16       Q Is that something that you did on your
          17       A Um, mid 2018.                                  17   own?
          18       Q Until when?                                    18       A Yes.
          19       A I would say probably the beginning of          19       Q Was Kevin Randall involved in the your
          20   2019 so probably about six months.                   20   decision to offer your help to Tonisha?
          21       Q Why were you without a title for that          21       A No.
          22   period of time?                                      22       Q Were any other managers at Southern
          23       A How much time do you have?                     23   involved in your decision to offer your help to
          24       Q I have all day unfortunately.                  24   Tonisha?
          25       A It is very difficult for me to                 25       A No.


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           1      Q      Describe for me what happened when you     1   There were pallets all over the warehouse that
           2          B. FINKELSTEIN                                2           B. FINKELSTEIN
           3   went to offer your help to Tonisha?                  3   weren't in proper locations that you can visibly
           4        A She was open-armed about it. She was          4   see walking through the warehouse. Other reports
           5   like absolutely. She will never turn away help.      5   that come up when we short product to customers.
           6   And then I pretty much -- with her help and some     6   You know, they order and we don't get certain
           7   other people that I knew were masters and the        7   items out to them. That's a result of inventory
           8   system that we use as WMI system, just started to    8   issues so there are a plethora.
           9   learn.                                               9        Q Was there a specific time when you
          10        Q When did you offer your help to              10   noticed that these inventory issues got worse or
          11   Tonisha Durant?                                     11   developed?
          12        A It was probably early 2019 in that           12        A Its been bad for as long as I can
          13   area.                                               13   remember especially since we went -- even prior to
          14        Q You testified earlier, and I want to         14   WMI because everything was on paper then, but the
          15   clarify this, that from mid 2008 until the          15   WMI system was a struggle for everyone, and it
          16   beginning of 2019 you were without a title?         16   created growing pains, created a lot of problems.
          17        A No. In 2008 until --                         17        Q Did the problems with inventory
          18        Q I'm sorry. 2018. Did I say 2008?             18   increase or decrease in your opinion when WMI was
          19        A Yes.                                         19   first implemented?
          20        Q Sorry. I meant to say 2018.                  20        A When it first was implemented it
          21        A Okay.                                        21   probably increased.
          22        Q So you just testified that from mid          22        Q And now the level of inventory issues
          23   2018 until the beginning of 2019 you were without   23   or problems that there are, could you compare that
          24   title?                                              24   at all to the way that it was before WMI was
          25        A I would say yes. That would be about         25   implemented?


                                                    Page 26                                                  Page 28
           1   right. Mid 2018. I am going by the best of my        1      A      Well, before WMI was implemented it
           2           B. FINKELSTEIN                               2          B. FINKELSTEIN
           3   recollection, but yes, that would be about right.    3   was hard to see what the issues were because
           4   It is about six months.                              4   everything was on paper. So that would be a touch
           5        Q And the first time you offered your           5   comparison. I mean, now compared to five years
           6   help to Tonisha Durant was in January of 2019?       6   ago or so when we started up we are in much better
           7        A Maybe it was earlier. It definitely           7   shape.
           8   could have been earlier, yes.                        8       Q Now at Southern do you have the
           9        Q Did you approach Tonisha Durant               9   authority to discipline any employees?
          10   shortly after you learned that you were without a   10       A I can start the ball rolling on a
          11   title?                                              11   discipline, but I can't make a decision as to the
          12        A Yes.                                         12   final -- decision that is made.
          13        Q About how long after that?                   13       Q Describe how you get the ball rolling.
          14        A Weeks.                                       14       A Well, if an employee is not following
          15        Q Is it fair to say then that it is more       15   the rules and regs whether it is attendance issues
          16   likely that you approached her in the middle of     16   or performance issues, et cetera, I coach and
          17   2018?                                               17   counsel and eventually if needed I start
          18        A Yes, I would say.                            18   corrective action.
          19        Q What problems did you think there were       19       Q How many employees now can you start
          20   with the inventory when you approached Tonisha      20   the ball rolling for discipline?
          21   Durant?                                             21       A I have about 40 on my shift.
          22        A There were issues at night that were a       22       Q Who are these 40?
          23   result of inventory issues during production. If    23       A They are all warehouse men.
          24   inventory is incorrect there are issues that hit    24       Q Have you had disciplinary authority
          25   the production side, so that was evident to me.     25   over anyone other than a warehouse man?


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           1      A      Yes.                                        1   position back in May 2018.
           2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
           3       Q When did you have disciplinary                  3       Q We already clarified that in mid 2018
           4   authority over someone else?                          4   you were without a title, correct?
           5       A During that year and a half that I was          5       A Okay. Mid or late 2018. I am really
           6   supervising the cycle counters team I had the         6   not sure of the dates, but I guess it would have
           7   authority with them.                                  7   been later. I believe I was without a title maybe
           8       Q And just to clarify, that year and a            8   for a few months, but I am really not sure of the
           9   half that you had disciplinary authority over the     9   dates.
          10   cycle counting team, from mid 2018 until January     10       Q You testified earlier that you were
          11   of 2020?                                             11   without a title from the middle of 2018 until
          12       A Yes.                                           12   January of 2019. Is that correct to the best of
          13       Q Other than that period of time did you         13   your recollection?
          14   ever have disciplinary authority over anyone other   14       A To the best of my recollection.
          15   than a warehouse man?                                15           MS. CABRERA: Objection. Objection to
          16       A No.                                            16       the mischaracterization. He said several
          17       Q When you were the midshift operations          17       times about the time that he doesn't know
          18   manager how many warehouse men did you supervise?    18       the exact time. It is around that time, and
          19       A Around the same amount of time 40              19       you are presenting it to him that he said it
          20   years.                                               20       was this exact time, and that is not what he
          21       Q And when you were the night shift              21       has said several times in the record.
          22   operations manager how many warehouse men did you    22           MR. MOSER: Okay. He already answered
          23   supervise?                                           23       so that's fine.
          24       A It was approximately 80.                       24       Q So at what point did Kevin Randall
          25       Q When you were given disciplinary               25   talk to you about supervising the inventory


                                                    Page 30                                                   Page 32
           1   authority over the cycle counters was there           1   control clerks?
           2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
           3   anything in writing that was given to you with        3        A Again, it was probably sometime late
           4   regard to that assignment?                            4   2018.
           5       A No.                                             5        Q Is that your best approximation?
           6       Q Have you seen any documents that shows          6        A That would be my best approximation,
           7   or concerns your -- withdrawn. Have you seen any      7   yes.
           8   document that shows that you had disciplinary         8        Q Tell me about that conversation,
           9   authority over the inventory control clerks?          9   everything that you can remember about that
          10       A A document? Not that I can recall.             10   conversation.
          11       Q Have you ever seen a document that             11        A I really don't remember too much about
          12   concerns your disciplinary authority over the        12   it. I do remember that there were some issues
          13   inventory control clerks?                            13   with cycle counters, two in particular, and there
          14       A That concerns it?                              14   was some action that needed to be taken, and if I
          15       Q Such as an E-mail, a text message, or          15   believe that that is probably what started the
          16   any other documents that concern your supervisory    16   conversation with Kevin, but I really don't
          17   authority over the inventory control clerks?         17   remember the specifics.
          18       A Not that I can recall. In meetings,            18        Q You said that action needed to be
          19   yes but verbally, yes, but I don't recall anything   19   taken with regard to two specific cycle counters?
          20   in writing.                                          20        A Yes.
          21       Q And the meetings that you had                  21        Q Which ones?
          22   regarding your disciplinary authority over the       22        A I don't remember their last names.
          23   inventory control clerks, when was the first         23   They are no longer -- they were both terminated.
          24   meeting that you can recall having?                  24   One was Raoul. I don't remember his last name,
          25       A I would say it was just when I got the         25   and the other one was Anthony, and I don't


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           1   remember his last name.                               1      Q     And then to the best of your
           2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
           3       Q Who had been supervising the cycle              3   recollection in late 2018 either Tonisha Durant or
           4   counters before Kevin Randall approached you?         4   Kevin Randall approached you about supervising the
           5       A I believe it was Tonisha.                       5   inventory control clerks, is that correct?
           6       Q Is that based upon your personal                6       A Correct.
           7   knowledge, what you saw and what you heard?           7       Q And tell me all that you can remember
           8       A No. I think that it had to be Tonisha           8   about these conversations or that conversation.
           9   because she was the only one in that department at    9           MS. CABRERA: Objection.
          10   that point.                                          10       A Again, there isn't much that I
          11       Q She was the only one in which                  11   remember about the specifics of the conversation
          12   department at that point?                            12   outside of just some gratitude from Tonisha
          13       A In inventory control.                          13   because she needed help.
          14       Q So let's talk about the middle of              14       Q Is Maria Suarez still employed by
          15   2018. In the middle of 2018 there was an             15   Southern?
          16   inventory control department?                        16       A To the best of my knowledge no.
          17       A There has always been one.                     17       Q How long after Maria Suarez was no
          18       Q In the middle of 2018 how many people          18   longer employed by Southern were you given
          19   were in the inventory control department?            19   supervisory authority over the inventory control
          20           MS. CABRERA: I am going to object to         20   clerks?
          21       the form of the question. You can answer         21       A I don't know the date of when she left
          22       the question.                                    22   so it would be from that date until late 2018.
          23       A I think, four.                                 23       Q I will show you something. It is not
          24       Q Who were they?                                 24   marked as an exhibit. This is a letter from the
          25       A That would be Tonisha, Ena Scott,              25   Human Resources Department. And in the lower


                                                    Page 34                                                   Page 36
           1   Tatiana Herdocia, and Justin Veigh.                   1   right-hand corner. There is a Bate stamp SGWS
           2           B. FINKELSTEIN                                2           B. FINKELSTEIN
           3       Q Describe for me the conversation that           3   001483. I would like you to take a minute to look
           4   you had with Kevin Randall in late 2018 about         4   at this document, and then I will have a question
           5   supervising the inventory control clerks?             5   for you about it.
           6            MS. CABRERA: Objection.                      6             MS. CABRERA: Are you using this to
           7       A Um, again I don't really recall the             7        enter it as an exhibit, or are you using it
           8   exact conversation. I believe that he discussed       8        to refresh his recollection?
           9   this with Toshina before he asked me to assume        9             MR. MOSER: To refresh his
          10   that role. Honestly it might have been Toshina       10        recollection.
          11   that asked me. Kevin and I weren't really            11        A Okay.
          12   speaking too much back then.                         12        Q Does this refresh your recollection as
          13       Q So to the best of your recollection            13   to when Maria Suarez left the employment with
          14   you were without a title in the beginning of mid     14   Southern?
          15   2018 and several weeks later you offered your help   15        A Well, it tells me April of 2018 so --
          16   to Tonisha Durant, correct?                          16        Q Does that sound right to you?
          17       A Yes.                                           17        A I would guess so.
          18       Q After you offered your help to                 18        Q And so from approximately April -- is
          19   Tonisha what did you do on a regular basis?          19   it fair to say from April of 2018 until late 2018
          20       A Mostly started getting educated. I             20   Tonisha Durant supervised the inventory control
          21   didn't really dive into the department quite yet.    21   clerks? I'm sorry. Is it fair to say that from
          22   I just started learning, taking a deeper dive into   22   approximately April of 2018 until late 2018
          23   the program.                                         23   Tonisha Durant supervised the cycle counters?
          24       Q Into what program?                             24        A To the best of my knowledge, yes.
          25       A WMI.                                           25        Q And your authority to discipline and


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            1   supervise the cycle counters began in late 2018?     1      A     No. That I wouldn't know.
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3       A Yes, to the best of my recollection.           3       Q Is there an inventory manager in the
            4       Q And did you ever have to get the ball          4   accounting department?
            5   rolling with regard to any cycle counters?           5       A I believe that there is.
            6       A Yes.                                           6       Q Who is that?
            7       Q Describe for me what happened.                 7       A I don't know.
            8       A Well, it was two cycle counters that           8       Q Can you be more specific about to what
            9   we hired. If I had to guess -- again, it is a        9   your daily activities included from the time that
           10   guess it was sometime early 2019 who had -- both    10   you approached Tonisha Durant to offer her your
           11   of them, I think they were friends and they were    11   help until January of 2020?
           12   having attendance issues, performance issues.       12       A Well, eventually I worked directly
           13       Q Who hired these cycle counters?               13   with the cycle counters. I gave them their work
           14       A I believe Kevin Randall hired both of         14   every day. As they did their job I had to analyze
           15   them.                                               15   the reports that came back to me that impacted
           16       Q Are you familiar with the WMI system?         16   inventory.
           17       A Yes.                                          17       Q What reports would they get back to
           18       Q What is your understanding of Tonisha         18   you?
           19   Durant's role in WMI?                               19       A There were cycle counting reports when
           20           MS. CABRERA: Objection. You can             20   there are variances, so those are reports that
           21       answer.                                         21   would come back to me if there was a variance, if
           22       A Her role in WMI or in inventory?              22   something was wrong.
           23       Q In inventory.                                 23       Q How big would the variances have to be
           24       A And WMI?                                      24   to -- withdrawn. Is it fair to say that if the
           25       Q Yes.                                          25   cycle counters did a physical count and there was


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            1      A     Well, she is brilliant with it. She         1   within a certain percentage of what was in the
            2         B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   handles pretty much every aspect of inventory        3   system as being in inventory, that the system
            4   control issues.                                      4   would automatically accept that count?
            5       Q Do you know who would be handling              5       A Correct.
            6   inventory control before Tonisha?                    6       Q If it was -- if it was greater than
            7       A I believe it was Maria.                        7   that specified amount then the system would reject
            8       Q Is there an accounting department at           8   that cycle count?
            9   Southern?                                            9       A It wouldn't reject it. It was greater
           10       A Yes.                                          10   or less than so anything -- yes. There is a
           11       Q In your role as operations manager in         11   threshold, and anything over or above is that
           12   the warehouse do you deal with anyone from          12   threshold -- well, over or under that threshold
           13   accounting?                                         13   would have to get analyzed. It would not get
           14       A Not really. Very infrequently.                14   rejected.
           15       Q For what reasons would you have to            15       Q Okay. What was the threshold?
           16   deal with someone from accounting?                  16       A $250. I mean, that is what it is now.
           17       A Occasionally they will ask me                 17   I don't know if it was the same then.
           18   questions. I really don't contact them for          18       Q The $250 that relates to the cost or
           19   anything. They will occasionally ask me questions   19   the sale price?
           20   about maybe a count on a specific product or to     20       A Cost.
           21   double check a specific product, but they work      21       Q Is it fair to say that the $250 for
           22   mostly with Tonisha.                                22   some product could be less than a case?
           23       Q Okay. Do you know who from the                23       A Yes.
           24   accounting department works with Tonisha or deals   24       Q What happens when the difference
           25   with Tonisha primarily?                             25   between the cycle counters' count and the amount


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            1   that is recorded in inventory for a specific          1   cycle counters?
            2          B. FINKELSTEIN                                 2           B. FINKELSTEIN
            3   location in the warehouse is greater than $250?       3        A I had no idea that they were renamed.
            4       A It needs to be investigated.                    4   I was under the impression cycle counters are
            5       Q Describe to me how --                           5   clerks.
            6       A Um, there are a number of things that           6        Q So is it your understanding that cycle
            7   need to be done. There is a report that tells you     7   counters are inventory control clerks? Is that
            8   if you are over or under on a dollar value of an      8   fair to say?
            9   item. That's for the year. So you would look at       9        A Yes.
           10   the report. Then you would do a full physical        10        Q So if I call them inventory control
           11   count of that item and every location in the         11   clerks you know what I am talking about?
           12   warehouse.                                           12        A Yes.
           13       Q Who was responsible for doing the              13        Q Once you began supervising the
           14   physical count of every location in the warehouse?   14   inventory control clerks how many counts were they
           15       A Um, cycle counters do it generally.            15   doing on a daily basis of -- when I say counts I
           16       Q If the cycle counters counted and              16   mean locations in the warehouse?
           17   they have a variance in excess of $220 what          17        A On a daily basis individually?
           18   happens next?                                        18        Q Yes.
           19       A There could be a few things. I mean,           19        A I would have to say 200, 250.
           20   when I had that position I would go on the floor     20        Q And how many cycle counters --
           21   and double check their counts. I would just          21   withdrawn. How many inventory control clerks did
           22   eyeball them. If that strikes out we probably        22   you have when you were supervising them?
           23   would not accept the counts and put a hold on it     23        A Um, on paper there were five of them.
           24   and enter another count for the following day.       24        Q How many of them were doing their
           25       Q So what is a hold?                             25   job?


                                                     Page 42                                                    Page 44
            1      A      It is a rejection of the count. And         1       A      Three.
            2          B. FINKELSTEIN                                 2           B. FINKELSTEIN
            3   then it is a reentry to count it begin.               3        Q So is it fair to say that you had
            4       Q So when you had the supervisory                 4   another at least 600 to 650 locations --
            5   authority over the inventory control clerks, if       5   Is it fair to say that you had between 600 and
            6   they counted product and there was a variance in      6   750 locations in the warehouse being counted by
            7   excess of $250 you had the authority to reject        7   the three clerks that were doing their job?
            8   that count and make them count it again?              8        A I would say on average, yes.
            9       A Yes.                                            9        Q For how many of those locations was
           10       Q How often did you do that?                     10   there a variance?
           11       A Every day. Often.                              11        A (No answer).
           12       Q Is it fair to say that the cycle               12        Q In excess of $250?
           13   counters were not doing their jobs correctly that    13        A I would say maybe 15 percent. 10 to
           14   that would create a lot of work for you as their     14   15 percent or maybe more.
           15   supervisor?                                          15        Q What about the other two cycle
           16       A Yes.                                           16   counters? How were their counts in terms of --
           17       Q Describe how them not doing their job          17   withdrawn. The two cycle counters who were not
           18   correctly would create work for you?                 18   doing their job, how many locations were they
           19       A Well, it would require them to spend           19   counting on a given day?
           20   more time or myself to go out on the floor to        20        A That's a number of years ago. It is
           21   check and double check.                              21   kind of hard to recall, but probably half of what
           22       Q On average when you were supervising           22   they should have been doing.
           23   the inventory control clerks -- withdrawn. Do you    23        Q So between 100 to 125 locations?
           24   understand that by inventory control clerks I mean   24        A Yes, I would say so.
           25   inventory control clerks who were later renamed as   25        Q And what percentage of their counts


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            1   were coming back with a variance in excess of         1   the variance can be in excess of $250 would you
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   $250?                                                 3   have time to do anything else?
            4        A Probably about the same, 10 to 15              4       A Not too much.
            5   percent.                                              5       Q How would you whittle down the counts?
            6        Q Just to clarify, when you had three            6       A So when these reports come back there
            7   inventory clerks doing their job and the two          7   is another report that tells me that I am over or
            8   inventory clerks who were not doing their job they    8   under for the year on each item in the warehouse.
            9   were counting approximately between -- 800            9   For instance, an item comes back as over 50
           10   locations and 1,000 locations per day?               10   cases? I look at that report. If that report
           11        A I would say that would be about max,          11   shows me that I am short 50 cases then I accept
           12   yes.                                                 12   that count so I have to analyze. You have to
           13        Q 10 to 15 percent of that would be on          13   spend a few minutes to analyze every one of those
           14   the low end, 80 locations per day where there        14   variances and then make a decision before you go
           15   would be a variance in excess of $250, correct?      15   out counting.
           16        A Yes.                                          16       Q So before you actually physically
           17        Q And on the high end if it would be --         17   count the inventory you had the decision to accept
           18   it could be up to 150 locations per day where the    18   a particular variance?
           19   variance was in excess of $150?                      19       A Correct.
           20        A $250.                                         20       Q Up to what amount was there a
           21        Q Let me say that again. Is it fair to          21   particular dollar value that you could accept a
           22   say on the high end that it could be up to 150       22   variance for?
           23   locations where the variance was in excess of $250   23       A Maybe $3,000. Something in that area,
           24   per day?                                             24   I believe.
           25        A It could, but that would be high.             25       Q When you were managing the inventory


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            1   That would be -- that would not be too often that     1   control clerks did you ever have to use a hi-lo?
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   it would happen.                                      3       A No.
            4       Q On average how many counts per day was          4       Q When you were managing the inventory
            5   there a variance in excess of $250?                   5   control clerks did you ever use a cherry picker?
            6       A I would say between 80 and 100.                 6       A You are not allowed to. The answer is
            7       Q If you had to go to each one of those           7   no because you can't. You are not allowed to.
            8   locations and count again for cycle counters can      8       Q Why can't you use a cherry picker?
            9   you approximate for me how long that would have       9       A It is a union rule. We can't touch
           10   taken you?                                           10   product. We can't use machines.
           11       A A day, an entire day.                          11       Q If you wanted to physically count the
           12       Q If you were required to recount all of         12   product that was not located on the floor how
           13   the locations where the variance was in excess of    13   would you do that?
           14   $250 would you have time to do anything else?        14       A I couldn't.
           15       A If that is all I did? Again,                   15       Q Who would be able to do that?
           16   depending on how many there are and -- I mean,       16       A A cycle counter.
           17   again, there is another report to look at where      17       Q Let's say the cycle counter keeps on
           18   you can probably generally -- I can whittle down     18   insisting that there is only X number of product
           19   half of those counts based on our year end reports   19   there and it is not an area that is accessible by
           20   so generally I am left with about half of that       20   you and there is no explanation for the variance.
           21   that has to physically get counted.                  21   What would you do?
           22       Q But if you had to separately go to             22       A I would have a warehouse men pull the
           23   each and every -- if you could not whittle it        23   pallet down unto the floor so we can take a visual
           24   down, if you had to go to each and every location    24   on it.
           25   to double check the cycle counters' counts where     25       Q How long would that process take,


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            1   getting the pallet from the elevated location to     1   there. I will go to that location, and I eyeball
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3   the floor?                                           3   it, and see is there really nothing there. It was
            4       A Five minutes, maybe.                           4   like an obvious thing.
            5       Q How many locations in the warehouse            5        Q Got you. Was there ever an instance
            6   are accessible without a cherry picker?              6   where you had to personally physically recount the
            7       A I couldn't even take a guess on that.          7   items that were in a location that was not located
            8       Q What percentage of the locations in            8   on the floor of the warehouse when you were
            9   the warehouse are accessible without a cherry        9   supervising the inventory control clerks?
           10   picker?                                             10        A No, I couldn't.
           11       A I would say 20 percent, 30 percent.           11        Q Was there ever an instance when you
           12       Q Are accessible --                             12   were supervising the inventory control clerks in
           13       A On the floor.                                 13   which they could not resolve a variance in excess
           14       Q On the floor, okay. That would mean           14   of $250 at one of those elevated locations?
           15   between 70 and 80 percent of the inventory is not   15        A Sure.
           16   accessible without a cherry picker, is that fair    16        Q How many times?
           17   to say?                                             17        A Over the course of the year and a half
           18       A Yes. I would say in that area.                18   or so?
           19       Q Did Tonisha Durant have the authority         19        Q Yes.
           20   to ask -- withdrawn. Did Tonisha Durant ever have   20        A Hundreds.
           21   the authority to direct warehouse men?              21        Q What would you do when that happened?
           22       A Unwritten, yes. They respect her and          22        A I would go to Tonisha.
           23   if Tonisha asks someone to do something they will   23        Q What would Tonisha do?
           24   do it.                                              24        A I have no idea.
           25       Q To your knowledge did Toshina Durant          25        Q So on paper who was the manager of the


                                                     Page 50                                                  Page 52
            1   ever have managerial authority over the warehouse    1   inventory control clerks during that year and a
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3   men?                                                 3   half period?
            4       A To my knowledge, no.                           4       A Ultimately it was Tonisha.
            5       Q Was there ever an instance in which a          5       Q Was your supervisory role of the
            6   warehouse men refused to take an instruction from    6   inventory control clerks ever put into writing?
            7   Tonisha Durant?                                      7       A I don't think that it was.
            8       A To the best of my knowledge, no.               8       Q Is it fair to say during the entire
            9       Q Did you have the authority to direct           9   time that you supervised the inventory control
           10   warehouse men in the performance of their duties?   10   clerks that Tonisha Durant was their manager?
           11       A When I was working in inventory               11       A She was the manager of the department,
           12   control?                                            12   but she did not really manage the cycle counters.
           13       Q Yes.                                          13   They reported to me.
           14       A Probably not.                                 14       Q Did they have performance
           15       Q Okay. Was there ever an instance when         15   evaluations?
           16   you were working in inventory control --            16       A No. You are not allowed to do that.
           17   withdrawn. Was there ever an instance when you      17       Q And after you stopped supervising the
           18   were working in inventory control when you had to   18   inventory control clerks who started supervising
           19   personally physically count product in a location   19   them at that point?
           20   that was not accessible from the floor?             20       A Tonisha.
           21       A I would make attempts.                        21       Q Does she still supervise the inventory
           22       Q What do you mean by making attempts?          22   control clerks today?
           23       A So a cycle counter goes to a location         23       A Yes.
           24   that is not on the floor, maybe a few levels up,    24       Q I know we went over this earlier.
           25   and he -- his report comes back. There is nothing   25   You don't recall if it was Kevin Randall or


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            1   Tonisha Durant who gave you supervisory authority     1       Q     Okay. How would you assign the work?
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   over the inventory control clerks?                    3        A WMI creates a file for every item that
            4       A I think that they both discussed it             4   over the last 24 hours came in with issues that
            5   together, but yes, I really don't recall who          5   triggers cycle counts.
            6   specifically told me.                                 6        Q So it creates this file, right?
            7       Q Tell me everything that you can recall          7        A Yes.
            8   about them giving you this supervisory authority.     8        Q And then what happens next?
            9           MS. CABRERA: Objection.                       9        A Then I extract the information out of
           10       A I really don't recall specifically             10   the file, separate it by how many cycle counters
           11   what went on.                                        11   that I have for that day, split it up, and then
           12       Q How about towards the end when you             12   they go out and do their counting.
           13   stopped supervising the inventory control clerks?    13        Q Is there a regular -- does each
           14   Why did you stop supervising them?                   14   location have to be counted on a specific schedule
           15       A I believe around December of 2019 or           15   at least once every quarter, or once a month, or
           16   January of 2020, and the day shift manager was       16   once a week?
           17   relocating to Texas, and Kevin asked me if I would   17        A For the entire warehouse had to be
           18   be interested in taking over that position.          18   counted quarterly wall to wall.
           19       Q What shift were you working when you           19        Q Is there still a physical inventory
           20   were supervising the inventory control clerks?       20   done every single quarter?
           21       A I was there at 7 a.m. and left at 5 or         21        A No.
           22   5:30 p.m.                                            22        Q So how is the warehouse counted, the
           23       Q Did someone offer you the day shift            23   entire warehouse counted quarterly, if you can
           24   manager position?                                    24   explain?
           25       A Yes.                                           25        A WMI keeps a record of every location


                                                     Page 54                                                    Page 56
            1      Q     Who was that?                                1   that was or was not counted so by the end of the
            2          B. FINKELSTEIN                                 2         B. FINKELSTEIN
            3       A Kevin Randall.                                  3   quarter you make sure that half of the ones that
            4       Q Describe for me what happened when              4   were not counted are counted before the end of
            5   Sean Kelly left and when you were given the day       5   that quarter.
            6   shift manager position?                               6       Q What else would you do as the
            7       A Um, so Kelly went on a business trip            7   supervisor of the inventory control clerks?
            8   to Texas for Southern and was offered a position.     8       A Just to make sure that they are
            9   Kevin called me into his office late December I       9   counting, that they are doing their jobs. There
           10   believe it was and asked me if I would be            10   are other reports that tell me if someone had gaps
           11   interested in being promoted to the day shift ops    11   between counts so it is supervising their
           12   manager position.                                    12   performance, supervising their accuracy, make sure
           13       Q Did that position have an increased            13   they are at work on time, making sure they are
           14   salary?                                              14   taking breaks when they are supposed to,
           15       A Yes.                                           15   attendance issues.
           16       Q What salary were you being paid when           16       Q Did you do anything else other than
           17   you were supervising the inventory control clerks?   17   what you just described when you were managing the
           18       A I believe it was somewhere around 100.         18   inventory control clerks?
           19       Q What was that increased to when you            19       A Oh yeah.
           20   were given the day shift manager position?           20       Q Can you describe for me what else that
           21       A About 140.                                     21   you did?
           22       Q When you were supervising the                  22       A Sure. I dove deep into issues that
           23   inventory control clerks you would assign them       23   were happening that were creating inventory
           24   work to do?                                          24   problems. So if a shift -- one of the shift
           25       A Yes.                                           25   employees is making a mistake I will find out who


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            1   it was. Send E-mails to their bosses, trying to      1      Q     Do you know if it was 2015?
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3   find route cause.                                    3       A I would guess maybe in that area.
            4        Q Anything else?                                4       Q And what did she tell you about John
            5        A I kind of have my hand on everything          5   Wilkinson?
            6   there. I will get involved in receiving issues.      6       A I don't really recall any specifics.
            7   A lot of the warehouse men came to me for input      7   A lot of people complained about John Wilkinson,
            8   since I am a senior guy there.                       8   but she appeared to not be engaged in my opinion.
            9        Q When you came to Southern was Maria           9       Q Do you know why she wasn't happy?
           10   already there?                                      10       A I really don't know specifically.
           11        A Yes, I believe so.                           11       Q Do you recall any specific complaints
           12        Q Was she the manager of the inventory         12   that she had about John Wilkinson?
           13   control department when you came to Southern?       13           MS. CABRERA: Objection.
           14        A No. I was working nights so I never          14       A Nothing specific.
           15   saw her, but I believe Tom Barkey was the manager   15       Q Other than complaining generally about
           16   at that time.                                       16   John Wilkinson can you give me any better idea of
           17        Q Do you know when Maria became the            17   what she was complaining about?
           18   inventory control manager?                          18           MS. CABRERA: Objection.
           19        A I don't.                                     19       A I don't recall specifically.
           20        Q Do you know when Tonisha Durant became       20       Q So what kind of complaints would she
           21   the inventory control manager?                      21   make?
           22        A I don't.                                     22           MS. CABRERA: Objection.
           23        Q Do you know why Maria Suarez no longer       23       A Again, nothing specifically.
           24   works for Southern?                                 24       Q All that she was complaining about,
           25        A I don't. I know that she wasn't              25   you can't tell me anything that she was


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            1   happy, but I don't know specifics.                   1   complaining about?
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3       Q How do you know she wasn't happy?              3            MS. CABRERA: Objection.
            4       A She would vent often.                          4       A Nothing specific, no.
            5       Q To you?                                        5       Q And she appeared to be unhappy, is
            6       A To anyone. Including me.                       6   that fair to say?
            7       Q What did she tell you?                         7       A I would say yes.
            8       A She would usually complain about her           8       Q What about her made you think she was
            9   boss John Wilkinson.                                 9   unhappy?
           10       Q During what period of time did she            10       A Well, you know, the times that I had
           11   begin complaining to you?                           11   to work with her it was always a struggle. If I
           12       A As long as I can remember.                    12   needed her help she was not helpful. She seemed
           13       Q When for the first time did your              13   to be angry. I had no idea why, so she was a
           14   shifts overlap?                                     14   difficult person to work with.
           15       A When I came to midshift so I would see        15       Q Okay. So what about her made you
           16   her not often, not too often, really.               16   think she was not happy other than what you just
           17       Q When did you work that midshift again?        17   described to me?
           18       A I will go back again. I am thinking           18            MS. CABRERA: Objection.
           19   maybe around 2014ish. That's a guess.               19       Q Is there anything else other than what
           20       Q Do you recall when Maria complained to        20   you just described to me that would lead you to
           21   you for the first time about John Wilkinson?        21   believe that she was unhappy?
           22       A Not specifically, no.                         22       A No, not really.
           23       Q Can you tell me what year she first           23       Q Okay. So she was not helpful. She
           24   complained to you about John Wilkinson?             24   was angry?
           25       A I really can't recall.                        25       A Yes.


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            1      Q     And she was a difficult person to work      1   her face to face, and that was the last time that
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3   with?                                                3   I asked her for help. I found different ways to
            4       A Yes.                                           4   find my answers.
            5       Q And because of that you believed she           5       Q So tell me about this occasion on
            6   was unhappy?                                         6   which you brought the warehouse man into her
            7       A Yes. That would be accurate.                   7   office. What do you remember about that occasion?
            8       Q On how many occasions did you actually         8       A I remember he was having a problem.
            9   have to work with her?                               9   He had his RF gun with him, and I brought him in
           10       A I sort of stopped trying. So not too          10   and asked him to explain to Maria the problem he
           11   many.                                               11   was having. She basically started screaming that
           12       Q How many different occasions did you          12   I should know the answer to the -- the solution to
           13   work with Maria Suarez?                             13   the problem so that was when I stopped going to
           14       A Side by side?                                 14   her.
           15       Q Yes.                                          15       Q Was this the first time that she had
           16       A Early on when I first came to midshift        16   yelled at you?
           17   a number of times, and then like I said I stopped   17       A She didn't yell at me. She just
           18   trying.                                             18   yelled. She wasn't yelling at me. She just
           19       Q You testified earlier that the                19   yelled, starting yelling. If it was at me I
           20   midshift was from 3 p.m. to 1 a.m., is that         20   probably wouldn't have been -- it would not have
           21   correct?                                            21   been good.
           22       A Um, my shift was 3 p.m. to 1 a.m.             22       Q But did she ever yell at you?
           23       Q Yes. When you went to midshift?               23       A Um, I think probably, but I can't
           24       A Right.                                        24   recall anything specific.
           25       Q So when you went to midshift was your         25       Q Okay. So what was she yelling about?


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            1   shift from 3 p.m. to 1 a.m?                          1       A     That I should know the answer to the
            2          B. FINKELSTEIN                                2           B. FINKELSTEIN
            3       A That's the hours that I worked, yes.           3   -- I should know the resolution to the problem.
            4       Q And what were Maria's working hours            4        Q And what was the warehouse man doing
            5   when you were in midshift?                           5   with the RF gun?
            6       A I believe -- I am really not sure. I           6        A I don't recall specifically. Working.
            7   think it was like 9 to 5.                            7        Q Were warehouse men supposed to have
            8       Q Describe the occasions on which you            8   have RF guns?
            9   had to work with Maria when you were at midshift?    9        A Yes. They all have them.
           10       A Well, especially when we went to WMI          10        Q What do they do with the RF guns?
           11   and she had a little more knowledge than I did,     11        A They locate product in the
           12   and I would have to -- I would have an inventory    12   warehouse. They use it for receiving. They use
           13   issue on the warehouse side, and I would have to    13   it for any kind of product movement so all
           14   ask her for help to try to figure it out, rectify   14   inventory related.
           15   it. That was basically the extent.                  15        Q What led you to believe that Maria was
           16       Q On how many occasions did that happen?        16   the individual who you should speak to about the
           17       A Maybe two or three, and I stopped             17   issue with the RF gun?
           18   asking.                                             18        A She -- that was her department, and
           19       Q What did you ask for?                         19   she had WMI knowledge at the time that I didn't
           20       A Well, I could only remember one               20   have yet.
           21   specific occasion where I brought one of the        21        Q When you say it was her department --
           22   warehouse men into her office because he was        22        A Well she ran -- again, I don't know
           23   having a problem. It was inventory related, and     23   what Tonisha's involvement was at that point. I
           24   she got aggressive and to the point I had to ask    24   didn't work with Tonisha so when I had to work
           25   my employee to step out of the office and talk to   25   with someone from inventory it was Maria.


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            1      Q      Do you know what Tonisha's involvement      1       A     Oh, no. I wasn't without a title at
            2          B. FINKELSTEIN                                 2           B. FINKELSTEIN
            3   in WMI was?                                           3   that time.
            4       A Back then, no.                                  4        Q Okay. Do you remember what inventory
            5       Q What did you do after this incident in          5   issues that you went to Maria with?
            6   which Maria yelled?                                   6            MS. CABRERA: Objection.
            7       A I excused the warehouse man from her            7        A No, I don't.
            8   office. We had some words, and then I told her        8        Q The first two times that you went to
            9   that I know who not to come to for help, and I        9   her, what happened?
           10   walked out of her office.                            10        A I don't recall specifically.
           11       Q When you had issues in the future what         11        Q Did you have any inventory issues
           12   did you do?                                          12   after your last -- withdrawn. Did you have any
           13       A I didn't really have any issues in the         13   inventory issues after Maria yelled?
           14   future. We were cordial to each other. We didn't     14        A I am sure that I did.
           15   really -- businesswise we didn't really have too     15        Q What did you do to resolve those
           16   much interaction.                                    16   inventory issues?
           17       Q Well, there was an issue. Which issue          17        A I don't recall. I mean, there was a
           18   was the warehouse man having?                        18   number of people there that are experts at WMI, so
           19       A I don't recall.                                19   I started to go to the others for assistance.
           20       Q Do you recall anything about the issue         20        Q Who did you go to?
           21   that the warehouse man was having?                   21        A Usually Sean Kelly.
           22       A No.                                            22        Q What was his title at that time?
           23            MS. CABRERA: Objection.                     23        A He was -- I don't know if he was day
           24       Q So did it have to do with the RF gun?          24   manager. I don't think he was day manager yet. I
           25       A It had to do with inventory which is           25   think he was like business continuity. He was


                                                     Page 66                                                   Page 68
            1   the RF gun.                                           1   like an expert on everything actually so he was
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3       Q Did it have to do with the RF gun?              3   like my go to, especially WMI, pretty much any WMI
            4       A Like was the RF gun broken or                   4   issue that I had.
            5   something? No.                                        5       Q Did Mr. Kelly have knowledge of WMI
            6       Q Do you remember what question that you          6   before he began working at the Syosset warehouse?
            7   asked Maria or what issues you asked her to           7       A I don't know. But he was brilliant.
            8   resolve?                                              8       Q Was Mr. Kelly the cause of any
            9       A I don't.                                        9   conflict between you and Mr. Randall?
           10       Q On how many different occasions had            10       A I don't know.
           11   you -- well, you said that you went to Maria two     11       Q So at the time that Maria yelled at
           12   or three times with regard to inventory issues,      12   you who was your manager?
           13   correct?                                             13       A I believe it was John Wilkinson. It
           14       A Yes.                                           14   had to be, yes.
           15       Q Can you tell me over what period of            15       Q Did you tell John Wilkinson about what
           16   time you went to her for the two or three issues?    16   had --
           17       A I would say a few months.                      17       A I am sure that I did.
           18       Q You had the day shift position or were         18       Q And what did he respond to you?
           19   you without a title when you went to Maria?          19       A I don't recall.
           20            MS. CABRERA: Objection.                     20       Q And on the two to three occasions that
           21       A I don't really recall where I was at           21   you actually went to Maria with inventory issues
           22   at that point when that happened.                    22   was John Wilkinson your manager during all of
           23       Q So you could have had the day                  23   these three occasions?
           24   operations manager position or you could have been   24       A At that point, yes. He was the
           25   without a title?                                     25   director of operations so yes.


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            1      Q       After you spoke with Maria would you       1   hard to answer that. I think I just sort of went
            2           B. FINKELSTEIN                                2          B. FINKELSTEIN
            3   speak with John Wilkinson?                            3   with it as I started doing it.
            4        A Would I speak to him like right after?         4       Q If you did not know what the
            5        Q Or shortly thereafter?                         5   requirements of her job was how could you express
            6        A Possibly.                                      6   an opinion as to whether she was good at her job?
            7        Q Was Maria good at her job?                     7       A I think part of it is interaction. I
            8        A That's subjective. I do not think she          8   think that's a very important part of doing a job
            9   was good at her job.                                  9   well, being approachable.
           10        Q Why not?                                      10       Q So would it be her demeanor?
           11        A Well, especially after I had her job I        11       A Yes. I think that was a big problem.
           12   realized that -- first of all, our inventory was     12       Q Other than her demeanor is there any
           13   still a bit of a mess when I got into that           13   other reason why you believe she wasn't good at
           14   position. She never hit the floor which always       14   her job?
           15   amazed me. It was very difficult to do that job      15       A Firsthand, no.
           16   without hitting the floor, and she was difficult     16       Q Other than firsthand is there any
           17   to work with.                                        17   other reason why other than her demeanor you
           18        Q So let me just go through this. You           18   believe she wasn't good at her job?
           19   had a belief she was not good at her job. Was        19       A The only thing I could tell you is
           20   that only after you began doing her job?             20   that there on the cycle count side the cycle
           21        A No. I think it was even before that.          21   counters used to complain to me they are counting
           22        Q Before you began doing Maria's job --         22   the same locations every day which made me realize
           23   well, how did you know you were doing Maria's job?   23   that she is not investigating and processing.
           24        A Um, I just started to get involved in         24       Q Which cycle counters were telling you
           25   inventory and slowly started learning more. I        25   that they were counting the same location every


                                                      Page 70                                                   Page 72
            1   like to learn. So I don't think it was like a         1   day?
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   planned thing for me, and I wouldn't say I was        3       A Pretty much all of them.
            4   doing her job. I was doing some of the                4       Q Maria was their boss, correct?
            5   responsibilities that she had done when it comes      5       A Was their what?
            6   to working with cycle counters but a lot more than    6       Q Was their boss?
            7   that.                                                 7       A Yes.
            8       Q How did you know what her                       8       Q How did you know they were counting
            9   responsibilities were as inventory control            9   the same locations every day?
           10   manager?                                             10       A They told me.
           11       A I didn't know until I started diving           11       Q Other than them telling you?
           12   into inventory control.                              12       A I don't know.
           13       Q What led you to believe that -- well,          13       Q So do you know if they were actually
           14   what did you learn about what her duties were when   14   counting the same locations every day?
           15   you began diving into inventory control?             15       A I guess not.
           16       A What did I learn about that position?          16       Q So other than what you have already
           17       Q Yes.                                           17   described, her demeanor and what the cycle
           18       Q That it's probably the most important          18   counters told you, is there any other reason why
           19   thing, that it is very time sensitive, you know?     19   you believe Maria was not good at her job?
           20   Problems need to be resolved like immediately.       20       A No.
           21       Q Did you learn anything about what her          21       Q How many warehouse men are employed
           22   job was when you became involved in inventory?       22   at the Syosset, New York location?
           23       A Again, I didn't really know                    23       A Now?
           24   specifically what -- if she even had a job, a list   24       Q Yes.
           25   of what her requirements were, so it is kind of      25       A Approximately 160.


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            1      Q     If we go back to 2014, approximately        1      A      We have had supervisors but not
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3   how many warehouse men were employed in 2014?        3   warehouse.
            4       A I would say maybe there were 20 more           4        Q Okay. So in all of your years at
            5   back then.                                           5   Southern you never had a single woman apply for a
            6       Q Is there turnover in the warehouse men         6   warehouse position?
            7   position?                                            7        A To me that's correct.
            8       A No.                                            8        Q Do you know whether any women were
            9       Q Is there some turnover in the                  9   filtered out who had applied before they got to
           10   warehouse position?                                 10   you?
           11       A Not much.                                     11        A I do not.
           12       Q So how many female warehouse men were         12        Q Were you the hiring manager?
           13   there?                                              13        A When they had overnights, yes.
           14       A Warehouse people.                             14        Q Did you have any say other women
           15       Q Warehouse people?                             15   applicants actually made it to the interview
           16       A None.                                         16   process?
           17       Q And that would be for the entire time         17        A Um, back then it has changed since,
           18   that you were employed by Southern in Syosset?      18   but back then, yes.
           19       A I think we might have had one at one          19        Q What say did you have over what
           20   point.                                              20   applicants made it to the interview process?
           21       Q Are you guessing?                             21        A I read resumes and let HR know who to
           22       A I am guessing. I sort of remember one         22   send for an interview.
           23   coming in and making it for one night.              23        Q Would you get the resumes from HR?
           24       Q Other than that person who may have           24        A I believe so. It is a long time ago.
           25   come in and made it through one night were there    25        Q So you would get the resumes from HR.


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            1   any other women hired as -- withdrawn. Were there    1   You would pick the ones that you wanted to
            2          B. FINKELSTEIN                                2          B. FINKELSTEIN
            3   any other women who worked as warehouse people at    3   interview?
            4   the Syosset location during the entire time that     4       A Yes.
            5   you were employed?                                   5       Q And they would arrange those
            6        A There are no women applicants so the          6   interviews?
            7   answer is no to that.                                7           MS. CABRERA: Objection to the form of
            8        Q Why were there were no women                  8       the question.
            9   applicants?                                          9       Q Would they arrange those interviews?
           10        A I had never had women applicants come        10       A I don't recall. I don't remember if
           11   in, and especially on the overnights -- you have    11   it was them that arranged it or I arranged it.
           12   do come in for overnights first.                    12       Q Okay. How many individual warehouse
           13        Q If Elizabeth Toohig testified that           13   people did you hire during your employment at
           14   women actually applied for that position what       14   Southern?
           15   would you say to that?                              15       A I would have to say maybe 20 or 30.
           16        A Women have applied for it? They never        16       Q Did any female ever supervise
           17   made it to the warehouse. I have never had a        17   warehouse men at Southern's Syosset location?
           18   women apply.                                        18       A Yes. We have one currently who has
           19        Q So women may have applied, but they          19   been here for a number of years if you want her
           20   never made it to the warehouse?                     20   name.
           21        A If that's what you are saying. To the        21       Q Yes.
           22   best of my knowledge I have never had a woman       22       A Esther King. We had another one maybe
           23   applicant come in for an interview or be            23   about -- I don't know. I am guessing about eight
           24   considered for a job.                               24   years ago. Linda -- I don't remember her last
           25        Q Okay.                                        25   name. She was with us for maybe two or three


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            1   years.                                                1   believe that we would stop anyone from applying
            2           B. FINKELSTEIN                                2          B. FINKELSTEIN
            3        Q What is Esther King's job?                     3   and getting a position.
            4        A She is a supervisor. She is a WMI              4       Q What leads you to believe that?
            5   super user. She is my Sean Kelly.                     5       A I believe we never said no to anyone.
            6        Q What is a WMI super user?                      6   We never had an applicant to the best of my
            7        A It is a terminology that they use for          7   knowledge come in, a female, but I don't believe
            8   someone that knows the system inside and out.         8   that anyone would say no, you are a female. You
            9        Q Did she receive any training in this           9   are not getting a job. I don't believe that is
           10   system?                                              10   the culture in the company.
           11        A She did through Sean Kelly actually.          11       Q Is warehouse experience required to
           12        Q How many warehouse men does she               12   become a warehouse men?
           13   supervise?                                           13       A No.
           14        A All of the warehouse men on day shift         14       Q Would your opinion change if I told
           15   know that she is one of the supervisors, and they    15   you that Elizabeth Toohig testified that women
           16   all to some degree report to her, but specifically   16   were actually disqualified from the position for
           17   she has got probably about 12 that report strictly   17   not having warehouse experience?
           18   to her.                                              18       A I would be surprised.
           19        Q So she has 12 direct reports?                 19       Q Are you aware that there were lawsuits
           20        A Yes.                                          20   against Southern?
           21        Q Who are warehouse men?                        21       A Am I aware of lawsuits?
           22        A Yes.                                          22       Q Other than this one.
           23        Q And when was she hired?                       23       A Um, vaguely.
           24        A It has to be about seven years ago I          24       Q Do you know what those lawsuits were
           25   would guess.                                         25   about?


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            1      Q     Okay. Is it true that anyone who             1      A     That, I don't know.
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   applies for the warehouse position must start         3       Q Do you know if those lawsuits were
            4   throwing cases at night?                              4   about women not being given the warehouse men
            5       A Yes.                                            5   classification?
            6       Q And why is that?                                6       A I do know about that.
            7       A That's a union agreement so any new             7       Q How do you know about that?
            8   employees has to come in on the overnight pretty      8       A Um, Ena Scott told me.
            9   much has to go on a line to throw.                    9       Q Are any cycle counters allowed to use
           10       Q Is that a union rule?                          10   cherry pickers now?
           11       A Union rule? When it comes to starting          11       A They always have.
           12   at nights, yes. It is a union rule.                  12       Q So a cycle counter can use a cherry
           13       Q Do you think a rule like that would            13   picker today?
           14   dissuade women from applying for the warehouse       14       A Always could, yes.
           15   position?                                            15       Q And cycle counters can use hi-los
           16       A It might. I am sure it dissuades men           16   today?
           17   as well.                                             17       A No.
           18       Q Do you think it disproportionately             18       Q Do cycle counters or inventory control
           19   dissuades women?                                     19   clerks wear safety gear?
           20       A I couldn't answer that. It is a tough          20       A If they are on a cherry picker, yes.
           21   shift no matter what your gender is.                 21       Q Do they work on nights in the
           22       Q So you think that it would affect men          22   warehouse?
           23   and women equally, throwing cases at night?          23       A Sure.
           24       A I would guess. Like I said, it is a            24       Q Are they expected to move cases
           25   tough shift. It is a tough job, but I don't          25   sometimes in order to properly count product?


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            1      A     They are not supposed to, no.                1   operations side?
            2         B. FINKELSTEIN                                  2           B. FINKELSTEIN
            3       Q Have they ever been expected to move            3        A I believe it was Larry Laspinoza, and
            4   cases?                                                4   there was someone else. I'm sorry. No. It may
            5       A No.                                             5   have been Larry. There was Larry Callahan was
            6       Q Have they ever been permitted to use            6   definitely one. He was a manager. If I remember
            7   cases in order to count product?                      7   correctly maybe Larry Laspinoza was part of that
            8       A No.                                             8   five people. I don't really recall.
            9       Q What is the basis for your knowledge?           9        Q Can you tell me everything that you
           10       A It's a union rule that only warehouse          10   remember about your conversation with Ena Scott
           11   men can touch and move cases unless it is to         11   about the lawsuit?
           12   prevent breakage. That's the only caveat.            12        A Well, its been -- its been years of
           13       Q So if there was a rule that permitted          13   her venting to me, and I think a lot of people.
           14   inventory control clerks to move up to five cases    14   And that she should be getting warehouse pay. I
           15   per location, have you ever heard of a rule like     15   believe that's the gist of her comments.
           16   that?                                                16        Q Do you recall anything else?
           17       A No.                                            17        A The only other thing is that she said
           18       Q A rule like that ever in existence?            18   -- I think she wanted to get an increase in salary
           19       A Not to the best of my knowledge, no.           19   because she was doing like the lead work. I
           20   That doesn't mean there isn't one, but I'm not       20   forget the term she used like foreman work, doing
           21   aware of it.                                         21   foreman work.
           22       Q Do you remember any specific                   22        Q A checker?
           23   conversations that you had with Maria Suarez other   23        A No. She didn't say anything about a
           24   than the two to three conversations that you         24   checker that I recall.
           25   mentioned already?                                   25        Q Okay. And how was Ena doing foreman


                                                     Page 82                                                   Page 84
            1       A     Conversations with her?                     1   work?
            2           B. FINKELSTEIN                                2         B. FINKELSTEIN
            3       Q Yes.                                            3       A I have no idea.
            4       A Basically hi, how are you? Good                 4       Q During the time period that Maria
            5   morning. Good night.                                  5   Suarez worked at Southern did you ever supervise
            6       Q Okay. How would you describe Maria's            6   any inventory control clerks?
            7   personality?                                          7       A No.
            8       A Difficult.                                      8       Q During the time period that Maria
            9       Q Are you aware that there had been               9   Suarez was at Southern did you ever have any
           10   layoffs in April of 2018?                            10   disciplinary authority over inventory control
           11       A Yes.                                           11   clerks?
           12       Q Do you know what those layoffs were            12       A No.
           13   part of?                                             13       Q Do you know the reasons why Tonisha
           14       A I think it was -- I wasn't involved in         14   Durant is inventory control manager today?
           15   any of that, but I think it was a reduction of the   15       A Other than being very good at it, no.
           16   forms. I know a lot of people were getting           16       Q Do you have any knowledge of the
           17   nervous, and I know a few people that were laid      17   reasons why Maria Suarez no longer works for
           18   off at that time.                                    18   Southern?
           19       Q Were there a total of five people let          19       A I don't.
           20   go as a result of that reduction in the force?       20       Q Have you ever had a conversation with
           21       A I don't know if I -- I know one other          21   Tonisha Durant about Maria Suarez?
           22   one for sure. Maybe two other ones in the            22       A No.
           23   operations side, but I don't know -- other than      23       Q Have you ever had a conversation with
           24   that --                                              24   Kevin Randall about Maria Suarez?
           25       Q Which other ones do you know from the          25       A No.


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            1      Q     Have you ever had a conversation with        1      Q      How did you learn that you were
            2         B. FINKELSTEIN                                  2          B. FINKELSTEIN
            3   any of your other coworkers at Southern about         3   working without a classification?
            4   Maria Suarez?                                         4       A When I was called into Kevin Randall's
            5       A No.                                             5   office and told that my replacement was starting
            6       Q Have you ever had a conversation with           6   an hour later, and I asked him if I was being
            7   Tonisha Durant about this case?                       7   terminated, and he said no, and I said okay, so
            8       A No.                                             8   what is my position? And he said I don't know,
            9       Q Have you had a conversation with Kevin          9   figure it out. You can't make that stuff up.
           10   Randall about this case?                             10   I love him now by the way but not so much then.
           11       A Outside of me saying that I have to be         11       Q Who was your replacement?
           12   here today? No.                                      12       A Peter Lazar.
           13       Q So he told you that you would have to          13       Q Is Peter Lazar still working for
           14   be here today?                                       14   Southern?
           15          MS. CABRERA: Objection. That's not            15       A Yes.
           16       what he said.                                    16       Q Do you know when he was hired?
           17       A I told him I have to be here today.            17       A I don't know. It was like -- sometime
           18       Q Okay. When did you tell him that?              18   in 2019. I guess something like that. I am not
           19       A Last week.                                     19   sure.
           20       Q So you told him that you would have to         20       Q You mentioned earlier that you were
           21   be here for a deposition today, so you wouldn't be   21   without a classification beginning in the middle
           22   at work?                                             22   of 2018?
           23       A Right.                                         23       A Then that's when it was. The dates
           24       Q What did he say to you?                        24   are very vague to me. I am 68.
           25       A "Are you coming in before the                  25       Q But you are in great health.


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            1   deposition?"                                          1      A     Thank you.
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3       Q What did you report?                            3       Q So to the best of your recollection it
            4       A Of course. So I was at work before I            4   was the middle of 2018 when Kevin Randall had a
            5   came here. Welcome to the liquor business.            5   conversation with you?
            6       Q Other than that conversation did you            6       A Yes. I guess that it was because it
            7   ever speak with Kevin Randall about this case?        7   was about a year where I was doing the inventory
            8       A No, sir.                                        8   stuff before I got -- so that would make sense.
            9       Q Have you ever had any conversation              9       Q So after a year of getting involved in
           10   with any coworkers about this case?                  10   the inventory is when you had another change in
           11       A No.                                            11   your employment?
           12       Q Are you under the influence of any             12       A Right.
           13   medications, narcotics?                              13       Q And that change of your employment
           14       A No.                                            14   happened in what year?
           15       Q Are you under the influence of alcohol         15       A That was in like December of January
           16   today?                                               16   of 2020.
           17       A No.                                            17       Q And did you have any warning that
           18       Q Can you think of any reason why you            18   Peter Lazar was going to take your place?
           19   wouldn't be unable to testify truthfully and         19       A No.
           20   accurately?                                          20       Q Had he worked for Southern before or
           21       A No.                                            21   was he a new hire?
           22       Q Are there any documents which would            22       A A new hire.
           23   show the time period that you worked without a       23       Q Did Kevin Randall give you any reason
           24   classification?                                      24   why you weren't fired?
           25       A Maybe HR might have something.                 25       A No.


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            1      Q      Other than telling you to figure out        1   Southern?
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   what to do did he give you any further                3       A No.
            4   instructions?                                         4       Q We talked earlier about a lawsuit that
            5        A No.                                            5   was filed by Ena Scott, correct?
            6        Q During the time period that you were           6       A Right.
            7   working without classification did you have a         7       Q And was there another lawsuit filed by
            8   manager?                                              8   another inventory control clerk?
            9        A If I don't know if John was still              9       A I remember hearing something many
           10   alive at that point. I really don't recall. I        10   years ago, but I know nothing about it.
           11   don't recall if John Wilkinson was still alive. I    11       Q Do you know whether Josienne Sajous
           12   think he was, so I think he was still my manager.    12   filed a lawsuit?
           13        Q Did you have any conversations with           13       A Yes. That's who it is.
           14   John Wilkinson about what you were supposed to do    14       Q Did Tatiana Herdocia also file a
           15   when you were --                                     15   lawsuit against Southern?
           16        A Yes.                                          16       A I have no idea.
           17        Q -- not classified?                            17       Q Do you think it was strange two women
           18        A Yes.                                          18   who have reported to Maria Suarez had filed
           19        Q What did John say?                            19   lawsuits against Southern?
           20        A I don't know. It was classic.                 20            MS. CABRERA: Objection. Off the
           21        Q Was anyone tracking your attendance           21       record.
           22   when you were unclassified?                          22            (Whereupon a discussion was
           23        A No.                                           23       held off the record).
           24        Q So you have Kevin Randall telling you         24       A I do find it strange. I don't find
           25   to figure it out?                                    25   anything strange.


                                                      Page 90                                                 Page 92
            1      A      Yes.                                        1      Q       During your entire employment at
            2          B. FINKELSTEIN                                 2           B. FINKELSTEIN
            3       Q And you asked John Wilkinson what you           3   Southern Wine and Spirits had you heard of any
            4   are supposed to do, and he said I don't know?         4   other discrimination lawsuit against Southern
            5       A Right.                                          5   other than the one filed by Josienne Sajous and
            6       Q And did you receive any other guidance          6   the one filed by Ena Scott?
            7   or direction on what you were supposed to be doing    7        A I didn't know either of them were
            8   when you worked without a classification?             8   discriminated against so the answer is no, but I
            9       A No.                                             9   didn't even know that they were -- based on
           10       Q Did anyone tell you why you were not           10   discrimination.
           11   being terminated?                                    11        Q Do you know what their lawsuits were
           12       A No.                                            12   about?
           13       Q Did you wonder why you weren't being           13        A Josienne I had no idea. And Ena, I
           14   terminated?                                          14   thought it was about her title. I thought it was
           15       A Not really.                                    15   a title salary thing.
           16       Q Do you have any opinion or belief as           16        Q Did you learn about Ena's lawsuit from
           17   to why you wasn't terminated if somebody was hired   17   anyone else?
           18   to do your job?                                      18        A No.
           19       A Yes. I think that they knew -- I               19        Q Did you ever ask anyone what Ena's
           20   think that even maybe Kevin knew like there was      20   lawsuit was about other than your attorney?
           21   some value. I think he was maybe not sure of his     21        A No.
           22   decision. I think he just didn't want to lose        22            MR. MOSER: Thank you. I have no
           23   me.                                                  23        further questions.
           24       Q Do you know whether Maria Suarez had           24            MS. CABRERA: I actually have a
           25   any role in the lawsuits that were filed against     25        question.


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            1   EXAMINATION BY                                        1       questions.
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   MS. CABRERA:                                          3   CONTINUED EXAMINATION
            4       Q Can you explain to us what you meant            4   BY MR. MOSER:
            5   when you said earlier that Maria was not hitting      5       Q Did Maria have an RF scanner?
            6   the floor in connection with her job duties?          6       A I am sure she did.
            7       A Well, to double check or, you know, to          7       Q If Maria counted product with her RF
            8   do some of the work involved in that position you     8   scanner would that be reflected in Southern's
            9   have to occasionally go into the warehouse and        9   inventory system?
           10   check things physically yourself, and that's         10       A It should.
           11   something that she did not do.                       11       Q Would she be able to count product
           12       Q How do you know she didn't do that?            12   without being on the floor?
           13       A I saw it, and then often I would end           13       A No.
           14   up going out on the floor to check.                  14       Q And do you know how many locations
           15       Q You also said that the cycle counters          15   Maria counted, again if was the inventory control
           16   told you that they were doing the same counts        16   manager after WMI was implemented? I will
           17   every day?                                           17   withdraw that question. Do you know how many
           18       A Right.                                         18   locations Maria was counting on the floor after
           19       Q Do you recall that?                            19   WMI was implemented?
           20       A Mm-hmm.                                        20       A Do I know how many? No, I don't.
           21       Q Is there any correlation between the           21       Q Did you ever follow her for a day?
           22   cycle counters telling you that they are counting    22       A No.
           23   the same counts every day and the fact that Maria    23       Q How large is the warehouse?
           24   was not hitting the floor?                           24       A A few hundred thousand square feet.
           25       A Yes.                                           25       Q And that's just a warehouse activity,


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            1      Q     What is the correlation between those        1   correct?
            2          B. FINKELSTEIN                                 2          B. FINKELSTEIN
            3   two?                                                  3       A Yes.
            4        A Well, whoever is leading that                  4       Q So your belief is that Maria was not
            5   department hits floor. They will either resolve       5   on the floor was based upon you not seeing her on
            6   the issue, or there is another thing that we do in    6   the floor or something else?
            7   the warehouse. It is inventory research. So if        7       A It is based upon that it was based on
            8   we are missing product we put product into this       8   my director telling me I can't get her out of her
            9   like temporary hold position, and then hoping it      9   office so he would then vent to me ever once in a
           10   is going to -- it is a big warehouse that it shows   10   while.
           11   up two days later. Someone finds it. So if you       11       Q Who was your director?
           12   don't hit the floor the only option that you have    12       A John Wilkinson.
           13   is to just keep putting the same cycle counter       13       Q Other than John Wilkinson telling you
           14   every day for the same item.                         14   that and you not seeing her on the floor is there
           15        And what it invariably does, when I started     15   any other reason why you believe that she was not
           16   to do some of that work I would actually grab my     16   on the floor?
           17   cycle counters and said don't get crazy. I had to    17       A Not offhand, no.
           18   put Tito's back into a cycle counter. I know you     18       Q Do you have any personal knowledge as
           19   counted it for the last two days. I hope it is       19   to how many locations Maria counted after WMI was
           20   going to show up, but that was happening like --     20   implemented on a daily basis?
           21   constantly. I get it. It is frustrating for the      21       A No.
           22   counters because they feel like they are not         22       Q Do you know if it was more or less
           23   making progress. They are counting the same          23   than 100 locations?
           24   locations every day.                                 24       A More or less than what?
           25            MS. CABRERA: I have no further              25       Q Than 100 locations?


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            1      A      A day?                                      1       Q   Can you give me an approximation of
            2          B. FINKELSTEIN                                 2         B. FINKELSTEIN
            3       Q Yes.                                            3   when that was?
            4       A I would say less.                               4          MS. CABRERA: Objection. So now you
            5       Q How do you know that?                           5      are going beyond my --
            6       A I am just -- based on how often I saw           6          MR. MOSER: I am allowed to unless I
            7   her on the floor.                                     7      close the deposition.
            8       Q In terms of the warehouse itself how            8          MS. CABRERA: You did. You said you
            9   many different aisles are there?                      9      were done. You had no further questions.
           10       A How many aisles? There has to be 100           10      You are permitted to ask him whatver you
           11   in that area.                                        11      want to follow up to my questions, but you
           12       Q Is each aisle the same length?                 12      cannot go back and start asking questions
           13       A Generally with some exceptions.                13      beyond these questions absolutely not, no.
           14       Q And generally what is the length of            14          MR. MOSER: You are instructing him
           15   the aisles?                                          15      not to answer?
           16       A Oh, my God. I have no idea. Maybe 80           16          MS. CABRERA: I am telling him not to
           17   yards. Some are much longer.                         17      answer the question.
           18       Q On average would you say they are              18          MR. MOSER: Okay.
           19   approximately 80 yards?                              19          MS. CABRERA: You are not answering
           20       A If I had to guess. I am really not             20      that question.
           21   good at that.                                        21          THE WITNESS: I am with you.
           22       Q How much time did Ena Scott spend on           22          MR. MOSER: We will do it the hard
           23   the warehouse floor the after WMI was implemented?   23      way. We will be here all day.
           24       A On an average eight hour day?                  24          MS. CABRERA: No, we are not. We will
           25       Q Yes.                                           25      leave. We can call the judge. You are


                                                      Page 98                                                 Page 100
            1       A      I would say six to seven.                  1       limited to ask him questions with regard to
            2           B. FINKELSTEIN                                2          B. FINKELSTEIN
            3        Q How many times did you see Maria in            3       what I asked. If you are going to go
            4   her office?                                           4       beyond that let's get on the phone because
            5        A I didn't see her in her office, her            5       we are not going to be here all day.
            6   back office when she was in the back office often     6       Q Do you remember when Maria was
            7   because I stopped going back there after I had a      7   brought to the warehouse floor?
            8   couple of -- experiences. And then she was moved      8       A No.
            9   to the blue room office which is an office like in    9       Q To the blue room?
           10   the warehouse, and she was there always.             10       A I don't.
           11        Q So she was always in the blue room?           11       Q When Maria went to the blue room did
           12        A Always in the blue room.                      12   you ever see her in her office?
           13        Q Never left the blue room?                     13       A A few times.
           14        A Very, very, very rarely saw her not in        14       Q Two or three?
           15   the blue room.                                       15       A Yes. Then I stopped going.
           16        Q So every time that you were in the            16       Q In total?
           17   blue room she was in the blue room as well?          17       A Yes. Two or three yes. I would say
           18        A The blue room is surrounded in glass.         18   so. Not often. I didn't go back there.
           19   It is like a fishbowl sort of, so it is right in     19       Q Okay. So when Maria had her office
           20   the front of the warehouse so every time I hit the   20   before she was moved to the blue room you know she
           21   warehouse, which is often, yes, she would be         21   wasn't on the floor because you didn't see her on
           22   there.                                               22   the floor, correct?
           23        Q So can you give me an approximation?          23       A Before she went to the blue room?
           24   I know we mentioned Maria yelling, right?            24       Q Yes.
           25        A (Nodding).                                    25       A That would be correct.


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            1      Q      And because John Wilkinson told you he    1
            2          B. FINKELSTEIN                               2          B. FINKELSTEIN
            3   can't get her out of her office?                    3
            4       A Yes.                                                          CERTIFICATION
            5       Q How many hours per day was she                4
            6   spending on the floor after WMI was implemented?    5
            7       A I have no idea.                               6        I, David P. Yuni, a Shorthand Reporter
            8           MR. MOSER: I have no further                7    and Notary Public in and for the State of New
            9       questions.                                      8    York, do hereby certify:
           10                                                       9        That the testimony of said witness was
                                                                   10    held before me at the aforesaid time and place.
           11            (Time noted: 12:52 p.m.)
                                                                   11        That said witness was duly sworn before the
           12
                                                                   12    commencement of the testimony and that the
           13          _________________________________
                                                                   13    testimony was taken stenographically by me and
           14              BARRY FINKELSTEIN
                                                                   14    is a true and accurate transcript of my
           15
                                                                   15    stenographic notes.
           16   Subscribed and sworn to before me
                                                                   16        I further certify that I am not related
           17   This ____ day of _______________, 2022.            17    to any of the parties to the action by blood
           18                                                      18    or marriage and that I am in no way
           19   ________________________                           19    interested in the outcome of this Matter.
           20   Notary Public                                      20       IN WITNESS WHEREOF, I have hereunto set my
           21                                                      21    hand this 7th day of November 2022.
           22                                                      22
           23                                                      23                     __________________
           24                                                      24                      David P. Yuni
           25                                                      25


                                                     Page 102                                                   Page 104
            1                                                       1
            2          B. FINKELSTEIN                               2    ERRATA SHEET FOR: BARRY FINKELSTEIN
            3                                                       3      BARRY FINKELSTEIN, being duly sworn, deposes and
                           INDEX                                    4      says: I have reviewed the transcript of my
            4
                                                                           proceeding taken on 11/01/2022. The following
                WITNESS         EXAMINATION BY            PAGE
                                                                    5      changes are necessary to correct my testimony.
            5
                B. FINKELSTEIN       MR. MOSER            4, 95     6   ______________________________________________
            6                                                       7    PAGE LINE CHANGE                            REASON
                           MS. CABRERA              93              8    ----|----|---------------------|--------------
            7                                                       9    ----|----|---------------------|--------------
            8                                                      10    ----|----|---------------------|--------------
            9                                                      11    ----|----|---------------------|--------------
           10                                                      12    ----|----|---------------------|--------------
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           13                                                      14    ----|----|---------------------|--------------
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           17                                                      18    ----|----|---------------------|--------------
           18                                                      19    ----|----|---------------------|--------------
           19                                                      20    ----|----|---------------------|--------------
           20
                                                                   21          Witness Signature:_____________________
           21
                                                                   22    Subscribed and sworn to, before me
           22
           23                                                      23    this ___ day of __________, 20 ___.
           24                                                      24    ____________________ ___________________
           25                                                      25    (NOTARY PUBLIC)                   MY COMMISSION EXPIRES


                                                                                 26 (Pages 101 to 104)
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